Case 1:21-cv-00848-RJJ-RSK ECF No. 1-3, PageID.37 Filed 09/30/21 Page 1 of 5




          EXHIBIT 3
   Case 1:21-cv-00848-RJJ-RSK ECF No. 1-3, PageID.38 Filed 09/30/21 Page 2 of 5




From: Chris Roussos <chris.roussos@sequelyouthservices.com>
Date: Monday, January 27, 2020 at 4:25 AM
To: PAKSERESHT Fariborz <FARIBORZ.PAKSERESHT@dhsoha. state. or. us>
Cc: Sen Gelser <Sen.SaraGelser@oregonlegislature.gov>
Subject: Re: TCI Training


Agree, look forward to debriefing today. As you recall from our conversation last night, I did say we have
21 trainers now at NIA, I also said I did not know what they were certified in. The point I was making is
that we continue to make investments in NIA and the company.


Chris Roussos | Chief Executive Officer




c: 479.769.0103
e : chris. roussos@seq uelvouthservlces.com
sequelvouthservices.com
Join Our Team!




      On Jan 27, 2020, at 7:13 AM, PAKSERESHT Fariborz
      <FARIBORZ. PAKSERESHT@dhsoha. state. or.us> wrote:




                                                                                                             1/4
   Case 1:21-cv-00848-RJJ-RSK ECF No. 1-3, PageID.39 Filed 09/30/21 Page 3 of 5



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   this email and know the content is safe.




Thank yon, Senator Gelser, for this detailed information. I look forward to learning more at our debrief about

NIA/CMS today.


Fariborz



From: Sen Gelser <Sen.SaraGelser@oregonlegislature.gov>
Sent: Sunday, January 26, 2020 9:06 PM
To: Chris Roussos <chris.roussos@sequelyouthservices.com>
Cc: PAKSERESFIT Fariborz <FARIBORZ.PAKSERESHT@dhsoha. state. or.us>
Subject: TCI Training



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Hi Chris and Fariborz,


Thanks for the ongoing discussion. In the lobby, we were discussing TCI training and you indicated that NIA has
told you they now have 21(?) certified trainers on staff at the facility. I referenced some information that I wanted
to send to you to assist in the further discussion tomorrow.


According to the materials submitted to Oregon, and the references in the survey documents provided by CMS,
TCI is the crisis intervention program used by NIA. As of November 11, 2019 TCI (through Cornell) only had a
record of one person certified to train staff at NIA— her name was Emily Kightly. However, her name is not on the
staff list provided to Oregon DHS staff last fall. They had records of two other NIA staff with recently expired
certifications, but those names were also not on the list (Mol)y Managhan and Edward Lynch)


Although NIA told DHS that the onsite QA manager was a TCI certified trainer, Cornell stated that her certification
expired about 5 years ago.


Many residential programs do keep their own certified trainers on staff in order to train their residential program
staff. In order to be certified to teach TCI, the individual must attend a "Train the Trainers" training. It lasts for 5
full days at a cost of about $2500 per person. Before a person can attend the train the trainer session, they must
have completed 28 hours of basic TCI training to become certified in the technique. Each Train the Trainer session
is limited to about 20 participants, and the trainers are required to attend Cornell sponsored training updates
every 2 years, https://rccp.cornell.edu/tci/tci-l txt.html and https://rccp.cornell.edu/tci/tci-
2 certif assoc.html


Between November 11, 2019 and the present there has only been one Train the Trainer course which was held
from December 9-13, 2019 in Ithaca, New York. https://rccD,cornell.edu/td/tci-2 schedule US. html


For your reference, here are the written answers I received to questions that I asked of Cornell. The responses
were written by the program directors, Martha Holden and Andrea Turnbull and were written and received on
November 11, 2019. My questions are in green and the responses are in blue.



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   Case 1:21-cv-00848-RJJ-RSK ECF No. 1-3, PageID.40 Filed 09/30/21 Page 4 of 5



According to your records, are there certified TCI trainers employed by Sequel? If so, how many and at which
locations?
We m ai ntairrt he~ceTtTfTcatton inform atio irof TCttratners in a central database. We have them organized by

organization. With Sequel being a "parent" company, we would need to know the organization's name to be able
to verify if they have TCI Trainers. Here is the information for agencies that you identified:
                                                                                                                           I
Northern IL Academy
Edward Lynch expired. 9/28/2019
Molly Monaghan expired 3/ 16/2019
Emily Kightly currently certified through 4/12/2020


Clarinda Academy
No trainers


STARK Albion Commonwealth
No current trainers. The most recent expired in 2013


"Woo dvva rd Ac.ulr my
No trainers past or present


Lakeside
No current trainers. The most recent expired in 2007


     •     What are the dates of your most recent trainings?


           We provide train-the-trainer courses around the country on a monthly basis. These can be found on our
           website at http://rccp.cornell.edu


           There are courses for initial certification (5 days) and also trainer re-certification courses. Trainers
           seeking re-certification at their 2 year and 4 year mark must attend re-certification courses which are 2
           days. Those who have been trainers-for 6 years or more are eligible for re-certification topics which are
           presented in 1 day. Trainers are tested in the TCI knowledge through a written test and each trainer must
           demonstrate competency in the physical restraint portion according to their current certification.


     •     Based on incident reports and photographs, some of the individuals involved in supine restraints of
           young children are very large people. Is this permitted in TCI ?


           The supine restraints are designed for adolescents and not young children. There are two techniques for
           smaller children that avoids placing them in a prone or supine position on the floor. One is the small
           child restraint and the other is the seated restraint. TCI provides guidance to trainers who are applying
           for certification around body mass index and physical ability. There is also guidance around what

           restraint is appropriate based on the size of the child in relation to the size of the staff.


     •     Does TCI keep a record of those who are certified to practice TCI? We maintain records on those
           individuals who are certified as trainers. The design of the TCi system is for agency trainers to certify and
           track their own staff internally. We do not maintain any records of the staff trained at the agency level.
   Case 1:21-cv-00848-RJJ-RSK ECF No. 1-3, PageID.41 Filed 09/30/21 Page 5 of 5




Senator Sara Gelser
Chair, Senate Human Services Committee
Sen.saragelser(a>oregonleeislature,gov
(503) 986-1708* 900 Court Street NE, Salem, OR 97301
Pronouns: She/Her/Hers


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